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7

8
                            IN THE UNITED STATES DISTRICT COURT
9
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11

12   UNITED STATES OF AMERICA,           )                2:11-CR-00296 WBS
                                         )
13
                             Plaintiff,  )                AMENDED STIPULATION AND
14                                       )                ORDER TO ALLOW
     v.                                  )                DEFENDANT TO TRAVEL TO
15                                       )                MEXICO
                                         )
16
     SANDRA HERMOSILLO,                  )
17                                       )
                             Defendant.  )
18   ___________________________________ )
19

20                                           STIPULATION
21          Plaintiff, United States of America, by and through its counsel, Assistant United States
22
     Attorney Brian Fogerty, and Defendant, Sandra Hermosillo, by and through her counsel, Erin J.
23
     Radekin, hereby stipulate that Ms. Hermosillo may travel to Morelia, Michoacan, Mexico, at any
24

25   time between February 13, 2019 and February 19, 2019 to visit her father-in-law and brother-in-

26   law, both of whom have been diagnosed with end-stage cancer. The father-in-law is not
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     expected to live longer than about a week from the date this stipulation is filed. Ms. Hermosillo
28



                                             Stipulation and Order - 1
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 1   has traveled to Mexico to visit family on 11 prior occasions in this case, and there have been no
 2
     reported violations of the court-imposed travel conditions.
 3
            It is further stipulated that Ms. Hermosillo may pick up her passport from the court on the
 4

 5
     date of the filing of the proposed order to permit her to travel to Mexico on or after February 13,

 6   2019. Ms. Hermosillo must return to the United States no later than February 19, 2019 and must
 7   surrender her passport to the court within 24 hours of returning to the United States, but in no
 8
     event later than February 20, 2019.
 9
            Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
10

11   IT IS SO STIPULATED.

12   Dated: February 13, 2019                      MCGREGOR SCOTT
                                                   United States Attorney
13

14                                         By:     /s/ Brian Fogerty
                                                   BRIAN FOGERTY
15                                                 Assistant United States Attorney
16

17
     Dated: February 13, 2019                      /s/ Erin J. Radekin
18                                                 ERIN J. RADEKIN
19
                                                   Attorney for Defendant
                                                   SANDRA HERMOSILLO
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21

22   IT IS SO ORDERED.

23   Dated: February 13, 2019
24

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26

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                                              Stipulation and Order - 2
